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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



      NAVY SEAL 1, et al.,

            Plaintiffs,

      v.                                              CASE NO. 8:21-cv-2429-SDM-TGW

      LLOYD AUSTIN, et al.,

            Defendants.
      __________________________________/


                          PRELIMINARY INJUNCTION AND ORDER

            Unless preliminary relief issues, USMC Captain — a devout and observant

      Muslim — must either accept a COVID-19 vaccination in violation of his religious

      belief or undergo “punitive [or] other administrative action,” including possible sepa-

      ration from service. (Doc. 121 at 2) Granting preliminary relief to other service-

      member plaintiffs, a February 18, 2022 order (Doc. 111 at 47–48) in this action pre-

      liminarily enjoins the defendants:

                   (1) from enforcing against Navy Commander and Lieutenant
                   Colonel 2 any order or regulation requiring COVID-19 vaccina-
                   tion and

                   (2) from any adverse or retaliatory action against Navy Com-
                   mander or Lieutenant Colonel 2 as a result of, arising from, or
                   in conjunction with Navy Commander’s or Lieutenant Colo-
                   nel 2’s requesting a religious exemption, appealing the denial of
                   a request for a religious exemption, requesting reconsideration
                   of the denial of a religious exemption, or pursuing this action or
                   any other action for relief under [the Religious Freedom Resto-
                   ration Act] or the First Amendment.
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            Because the parties advanced an overly broad reading of the preliminary in-

      junction, a March 11, 2022 order (Doc. 133 at 3) clarifies the February 18 order and

      explains, “the defendants remain at liberty to issue commands, assignments, orders,

      and the like in the normal course of business . . . .” Understood correctly, the prelim-

      inary injunction employs the narrowest means available to prevent forced vaccina-

      tion, to prevent separation, and to prevent retaliation against a service member for

      pursuing a statutory right under RFRA.

            Reviewing a different injunction in a different action in a different circuit —

      the Fifth Circuit, the United States Supreme Court partially stayed a Texas injunc-

      tion “insofar as [the injunction] precludes the Navy from considering respondents’

      vaccination status in making deployment, assignment, and other operational deci-

      sions.” Austin v. U.S. Navy Seals 1–26, 142 S. Ct. 1301 (2022). (Of course, with the

      benefit of the March 11 order, the preliminary injunction in this action includes no

      equivalent or even comparable prohibition. The preliminary injunction in this action

      prevents only forced vaccination, separation from service, and retaliation based on a

      service member’s assertion of the right to a hearing in district court under RFRA.)

            In the present action, the defendants moved in the Eleventh Circuit to stay the

      preliminary injunction pending appeal. In response, both claiming that the Fifth Cir-

      cuit injunction stayed by the Supreme Court was a “comparable preliminary injunc-

      tion” (but, of course, not specifying the comparison) and repeating exactly the words

      in the Supreme Court’s stay, the Eleventh Circuit granted-in-part the motion to stay

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      the February 18 injunction (as clarified) “insofar as it precludes the Navy from con-

      sidering the plaintiffs’ vaccination status in making deployment, assignment, and

      other operational decisions[.]” Navy Seal 1 v. Sec’y of the U.S. Dep’t of Def., No. 22-

      10645 (11th Cir. Mar. 30, 2022). In sum, the Eleventh Circuit’s order purports to re-

      move a prohibition that the district court’s order explicitly never imposed.

             Consistent with the February 18 injunction (as clarified), consistent with the

      Supreme Court’s partial stay in the Fifth Circuit action, and consistent with the Elev-

      enth Circuit’s partial stay (which was, again, not responsive to the earlier preliminary

      injunction in this action), this order — to preserve a service member’s rights under

      RFRA — grants-in-part USMC Captain’s motions (Docs. 121, 147) for preliminary

      injunctive relief and, pending a full adjudication, prohibits only forced vaccination,

      separation from service, and retaliation, which is the narrowest effective remedy

      available (that is, available unless the Eleventh Circuit issues an opinion approving

      forced vaccination, approving separation from service pending adjudication, or ap-

      proving retaliation).

                                         BACKGROUND

             Born into a Muslim home (and with a father who is an imam), USMC Cap-

      tain enlisted in the Marine Corps. Two years later, after earning an undergraduate

      degree, USMC Captain completed officer candidate school and received a commis-

      sion as a second lieutenant. USMC Captain graduated basic school, attended the

      military police basic officer course, and received an assignment as a platoon

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      commander for a law enforcement battalion. During the COVID-19 pandemic, the

      Marine Corps assigned USMC Captain to serve as an anti-terrorism, force-protection

      officer. As an anti-terrorism officer, USMC Captain authored the “Critical Infra-

      structure Protection Program,” and the Marine Corps entrusted USMC Captain to

      revise “the standard operating procedures on tracking personnel traveling outside the

      Continental United States[.]” (Doc. 121-1 at 3) The Marine Corps deployed USMC

      Captain to several destinations, including to Djibouti as the “Officer in Charge of

      planning Base Cluster Defense.” (Doc. 121-1 at 3) In May 2021, the Marine Corps

      assigned USMC Captain to a recruit-training battalion in Parris Island, South Caro-

      lina. Attached to a non-deployable billet, USMC Captain supervises drill instructors

      and recruits during the thirteen-week training course that every recruit must complete

      to become a Marine. USMC Captain has “graduated over 160 recruits into the U.S.

      Marines and trained and mentored 24 non-commissioned officers.” (Docs. 121-1

      at 4, 132-2 ¶ 8)

             USMC Captain’s Islamic belief requires abstention from “that which is ha-

      ram — forbidden — including the destruction and commoditization of innocent hu-

      man life as exemplified by the commercial use of human fetal cell lines derived from

      abortions.” (Doc. 121-1 at 2) Based on his religious beliefs, USMC Captain




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      requested from the Marine Corps a religious accommodation.1 (Doc. 132-2 ¶ 9) In

      accord with Marine Corps procedure, a chaplain interviewed USMC Captain and

      concluded that “[USMC Captain] firmly holds to his religious belief regarding sev-

      eral conflicts between taking the vaccine and the Qur’an.” (Doc. 121-1 at 6) Finding

      USMC Captain’s beliefs sincere, the chaplain verifies that USMC Captain “ex-

      pressed his religious beliefs with extensive research and deep conviction.”

      (Doc. 121-1 at 6) The chaplain identified USMC Captain as credible and with a pat-

      tern of conduct consistent with the accommodation request. (Doc. 121-1 at 7)

      Nonetheless, the Deputy Commandant for Manpower and Reserve Affairs denied

      USMC Captain’s religious accommodation request.

             USMC Captain timely appealed. Three months later, the Assistant Comman-

      dant denied the appeal. In the appellate denial letter (Doc. 121-1 at 9), the Assistant

      Commandant acknowledged that USMC Captain harbors sincere beliefs and recog-

      nized that USMC Captain bases the exemption request (1) “on [the] belief that the

      use of fetal stem cells from aborted fetuses is contrary to Islam,” (2) on the “[con-

      cern] that the vaccine is experimental and therefore may only be used in extreme cir-

      cumstances under Islamic law,” and (3) on an “object[ion] to mRNA technology.”




             1
               An earlier order recapitulates the Marine Corps’ requirement to receive a COVID-19 vac-
      cination and the Marine Corps’ procedure for requesting a religious exemption. (Doc. 111 at 7–9)


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            The Assistant Commandant determined that “[USMC Captain’s] religious be-

      liefs are not substantially burdened by the requirement to receive a COVID-19 vac-

      cine.” (Doc. 121-1 at 10) Employing language identical to Lieutenant Colonel 2’s

      appellate denial letter (Doc. 66-3 at 3), the Assistant Commandant concluded that no

      substantial burden results from accepting the Pfizer vaccine because “fetal stem cells

      are neither used in the manufacture of the Pfizer COVID-19 vaccine nor are they pre-

      sent in the vaccine itself.” (Doc. 121-1 at 10) Attempting to address USMC Cap-

      tain’s objection to an “unproven” vaccine with “various side effects,” the Assistant

      Commandant states that “the Pfizer COVID-19 vaccine has been shown to be safe

      and effective for use in adults.” (Doc. 121-1 at 10) Finally, the Assistant Comman-

      dant insists that “[i]f [USMC Captain’s] concern is with mRNA technology, then

      [USMC Captain] can receive the Johnson and Johnson COVID-19 vaccine, which

      does not use mRNA.” (Doc. 121-1 at 10) Although claiming that the order to re-

      ceive COVID-19 vaccination imposes no substantial burden on USMC Captain’s re-

      ligious belief, the Assistant Commandant cites no source, provides no analysis on

      any vaccine’s association or lack of association to fetal stem cells derived from

      aborted fetuses, and identifies no vaccine that overcomes each of USMC Captain’s

      three bases for objecting.

            “[A]ssuming that COVID-19 vaccination substantially burdens [USMC Cap-

      tain’s] religious beliefs,” the Assistant Commandant “weighed” USMC Captain’s

      “assertions” against “the government’s compelling interests in military readiness and

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      in the health and safety of the force.” (Doc. 121-1 at 11) The Assistant Comman-

      dant asserts “consider[ing] such necessary elements of mission accomplishment as

      (1) military readiness, (2) unit cohesion, (3) good order and discipline, and (4) the

      health and safety of the force.” (Doc. 121-1 at 10)

            Without quantifying or specifying the threat to USMC Captain’s unit attribut-

      able to USMC Captain’s unvaccinated status and without citing any medical, scien-

      tific, or other source — the Assistant Commandant states:

                   The COVID-19 vaccine is the most effective and readily availa-
                   ble tool the Marine Corps has to keep service members healthy
                   and safe, and to ensure that the Marine Corps continues to be
                   able to accomplish its mission of protecting vital national inter-
                   ests. . . .

                   [P]ersonnel who are unvaccinated do not just put themselves at
                   risk, they also risk the health and medical readiness of other
                   persons within their unit, which in turn decreases the military
                   readiness of the unit and the Marine Corps as a whole. For a
                   unit to function effectively, either in garrison, in field training,
                   or in combat, all personnel must be able to perform their indi-
                   vidually assigned duties which ensures military readiness, an-
                   other of the government’s compelling interest. . . .

                   While masking, social distancing, hygiene, teleworking, and
                   other similar measures, individually or in combination, have
                   been shown to help slow the spread of the virus, they are simply
                   not as effective as vaccination. Moreover, these measures are
                   often incompatible with the demands of military life . . . .

                   While the [Deputy Commandant’s denial] letter may not have
                   been individually tailored to your satisfaction, this does not
                   mean that the adjudication authority did not consider the en-
                   tirety of your individual request, and weigh the factors pre-
                   sented in order to reach a decision.




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      (Doc. 121-1 at 11) Relying on generalized and ethereal conclusions about how

      COVID-19 affects the total force, the Assistant Commandant avoids identifying the

      marginal benefit, if any, of USMC Captain’s receiving a vaccine and remains silent

      on the marginal cost of replacing USMC Captain. (Of course, in admitting that the

      Deputy Commandant’s denial letter features insufficient “tailoring,” the Assistant

      Commandant identifies — but fails to remedy — the military’s deficiency, the failure

      to demonstrate that the denial of USMC Captain’s accommodation request results

      from analysis directed “to the person.”)

            The Marine Corps ordered USMC Captain to receive vaccination no later

      than March 3, 2022, and USMC Captain moved (Doc. 121) on an emergency basis

      for temporary injunctive relief. The Marine Corps extended the time within which

      USMC Captain must undergo vaccination and on March 28, 2022, ordered USMC

      Captain to undergo vaccination not later than April 1, 2022. (Doc. 147-1) Anticipat-

      ing no other extension, USMC Captain moved (Doc. 147) for emergency injunctive

      relief. The Marine Corps’ March 28 order confirms that “violation of [the order]

      may subject [USMC Captain] to punitive and/or administrative action.”

      (Doc. 147-1) An April 1, 2022 order (Doc. 150) grants USMC Captain’s motions

      and through April 15, 2022, temporarily enjoins the defendants “(1) from enforcing

      against USMC Captain any order or regulation requiring COVID-19 vaccination and

      (2) from any retaliatory action as a result of, or arising from, USMC Captain’s re-

      questing a religious accommodation, appealing the denial of a request for a religious

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      accommodation, or pursuing this action or any other action for relief under RFRA or

      the First Amendment.” (Doc. 150 at 5) The order schedules for April 11, 2022, a

      hearing on further preliminary relief. At the April 11, 2022 hearing, USMC Captain

      testified and moved additional exhibits (Docs. 163-1–163-6) into evidence. Offering

      no new evidence of any kind, the defendants chose not to rebut USMC Captain,

      whose testimony was entirely credible and persuasive.

                                              DISCUSSION

             USMC Captain moves (Docs. 121, 147) for a preliminary injunction and al-

      leges that the denial of his request for a religious accommodation from COVID-19

      vaccination violates RFRA. Preliminary injunctive relief issues only if the movant

      shows (1) that the movant enjoys a substantial likelihood of success on the merits,

      (2) that the movant will suffer an imminent and irreparable injury absent an injunc-

      tion, (3) that the injury to the movant outweighs the injury to the enjoined party, and

      (4) that the injunction is not adverse to the public interest. Siegel v. LePore, 234 F.3d

      1163, 1176 (11th Cir. 2000).

      A.     Substantial likelihood of success

             To state a prima facie case under RFRA, USMC Captain must demonstrate

      that the order to receive a COVID-19 vaccine substantially burdened his sincerely

      held religious belief. Despite the Assistant Commandant’s boilerplate assertion

      (Doc. 121-1 at 10), USMC Captain credibly shows that the order to receive the

      COVID-19 vaccine substantially burdens his faith, which precludes his accepting into

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      his body any substance that is known or likely to be haram. Seemingly conceding the

      sincerity of USMC Captain’s religious beliefs, the Assistant Commandant states that

      the order to receive COVID-19 vaccination “does not substantially burden [USMC

      Captain’s] sincerely held religious belief.” The Assistant Commandant concludes

      that USMC Captain suffers no substantial burden “because fetal stem cells are nei-

      ther used in the manufacture of the Pfizer vaccine nor are they present in the vaccine

      itself.” (Doc. 121-1 at 10) Also, the Assistant Commandant claims that the Johnson

      & Johnson vaccine satisfies USMC Captain’s “concern” with “mRNA technology”

      and that the Pfizer vaccine “has been shown to be safe and effective.” (Doc. 121-1

      at 10)

               The Assistant Commandant concludes that the connection between the vac-

      cination and USMC Captain’s religious practice of refusing the introduction of a ha-

      ram substance into his body is too attenuated. However, that conclusion “dodges the

      question that RFRA presents . . . and instead addresses a very different question that

      the federal courts [and the military] have no business addressing.” Burwell v. Hobby

      Lobby Stores, Inc., 573 U.S. 682, 724 (2014). The Assistant Commandant’s insistence

      that “fetal stem cells are neither used in the manufacture of the Pfizer vaccine nor are

      they present in the vaccine itself” and that the Pfizer vaccine “has been shown to be

      safe and effective” does not defeat the sincerity of USMC Captain’s belief that the




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      COVID-19 vaccines are haram but instead challenges the validity of the belief.2

      Hobby Lobby prohibits the Assistant Commandant’s conclusion. Because USMC

      Captain shows that his objection to receiving COVID-19 vaccination results from

      “an honest conviction” about the conduct that Islam permits and prohibits, USMC

      Captain demonstrates a sincere religious objection to receiving COVID-19 vaccina-

      tion. Hobby Lobby, 573 U.S. at 575. And because the Marine Corps’ order — on

      threat of separation or other punitive action — to receive COVID-19 vaccination

      puts USMC Captain “to the choice” of accepting vaccination or violating his sin-

      cerely held religious belief, the order substantially burdens USMC Captain’s sincere

      religious exercise. See Holt v. Hobbs, 574 U.S. 352, 361 (2015). In opposing USMC

      Captain’s motions for injunctive relief, the defendants include no argument to the

      contrary and offer no support for the Assistant Commandant’s conclusion. USMC

      Captain satisfies his threshold burden under RFRA.




              2
                Further, the Assistant Commandant’s boilerplate conclusion ignores or fails to respond to
      several of USMC Captain’s objections to receiving COVID-19 vaccination. The Assistant Comman-
      dant’s conclusion that “fetal stem cells are neither used in the manufacture of the Pfizer vaccine nor
      are they present in the vaccine itself” conflates the use of fetal stem cells in the manufacturing of a
      vaccine with USMC Captain’s objection –– that is, to any “use of fetal stem cells from aborted fe-
      tuses,” including in the development of, or testing the efficacy of, the vaccine (a stage that is conspic-
      uously absent from the Assistant Commandant’s assurance). Although the Assistant Commandant
      states that the Johnson & Johnson vaccine satisfies USMC Captain’s “concern” with “mRNA tech-
      nology,” the Assistant Commandant fails to recognize that fetal cell lines were used in the produc-
      tion of the Johnson & Johnson vaccine. Thus, the Assistant Commandant identifies no vaccine com-
      pliant with each of USMC Captain’s reasons for objecting.
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            As a February 18, 2022 order (Doc. 111 at 32) explains, RFRA requires the

      defendants to justify this substantial burden on religious exercise by showing —

      through analysis directed “to the person” — that the denial of a request for religious

      accommodation and consequent order to receive COVID-19 vaccination “(1) is in

      furtherance of a compelling governmental interest and (2) is the least restrictive

      means of furthering that compelling governmental interest.” In satisfying this burden

      of applying RFRA to the person, “broadly articulated governmental interests and

      broadly articulated demands of military life” will not suffice. (Doc. 111 at 38) After

      reviewing the boilerplate denials of Navy Commander’s and Lieutenant Colonel 2’s

      appeals, the February 18 order concludes (1) that “each letter predicates [the] denial

      on a broadly articulated interest in ‘the health and safety of the force’ and on the as-

      sertion that broadly articulated ‘demands of military life’ render ineffective any less

      restrictive means . . . to mitigate COVID-19, (2) that these broadly articulated inter-

      ests and generalized assessments of less restrictive means fail to satisfy RFRA’s bur-

      den, and (3) that, consequently, Navy Commander and Lieutenant Colonel 2

      demonstrate a substantial likelihood of a successful RFRA challenge.” (Doc. 111

      at 37–38)

            A review of USMC Captain’s denial letters (Doc. 121-1 at 8–12) reveals the

      same infirmities that plague the Marine Corps’ denial of Navy Commander’s and

      Lieutenant Colonel 2’s accommodation requests. In language identical to Lieuten-

      ant Colonel 2’s denial letter, the Marine Corps denies USMC Captain’s appeal

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      because of “the government’s compelling interests in military readiness and in the

      health and safety of the force.” Compare (Doc. 60-2 at 13) with (Doc. 121-1 at 11)

      Although USMC Captain proposes masking and social distancing to mitigate the

      spread of COVID-19, the denial letter concludes (again, in language identical to

      Lieutenant Colonel 2’s denial letter) that these less restrictive alternatives “are less ef-

      fective than vaccination” and “are often incompatible with the demands of military

      life.” (Doc. 121-1 at 3).

             That the military must demonstrate “to the person” analysis is no mere for-

      mality. RFRA requires that a district court “‘scrutinize the asserted harm of granting

      specific exemptions to particular religious claimants’ — in other words, to look to the

      marginal interest in enforcing the[] mandate . . . .” Hobby Lobby, 573 U.S. at 726 (cit-

      ing Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 431 (2006)).

      But the Deputy Commandant’s denial letter and the Assistant Commandant’s appel-

      late denial letter reveal only generalized and ethereal conclusions about the interests

      of the “Total Force.” Neither letter demonstrates analysis directed “to the person.”

             For example, in denying USMC Captain’s request, the Deputy Commandant

      issued a one-page letter, which states:

                    In making this determination, I considered your request dated
                    1 October 2021, the command endorsements, advice from the
                    Director, Health Services, Headquarters, U.S. Marine Corps,
                    and the recommendation of the Religious Accommodation Re-
                    view Board. Additionally, I considered your right to observe
                    the tenets of your sincerely held religious beliefs, and the gov-
                    ernment’s compelling interests in mission accomplishment, in-
                    cluding military readiness and the health and safety of the Total
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                   Force. I also considered whether an exception to the vaccina-
                   tion requirement is the least restrictive means of furthering the
                   government’s compelling interest. Finally, I consulted with le-
                   gal counsel.

                   Per DoDI 1300.17, my decision must be consistent with mis-
                   sion accomplishment, including consideration of potential med-
                   ical risks to other persons comprising the unit or organization.
                   Immunizations are a critical component of individual and unit
                   readiness. This compelling interest is not unique to the
                   COVID-19 vaccination, and cannot be accomplished with the
                   requested exception. I find that there is no less-restrictive way
                   of accommodating your request that ensures military readiness
                   and the preservation of the health of the force.

      (Doc. 121-1 at 8) The Deputy Commandant includes no detail on what “advice” the

      director of Health Services provided, what formed the foundation for that advice,

      how the Deputy Commandant applied the advice to USMC Captain’s request, and

      what limit, if any, the advice warrants. Although claiming that “Immunizations are

      a critical component of individual and unit readiness,” the Deputy Commandant

      identifies no evidence detailing why the vaccination of USMC Captain is on the mar-

      gin a critical component of USMC Captain’s individual or unit readiness. Further,

      the denial letter places USMC Captain at a distinct disadvantage on appeal. USMC

      Captain had no ability to rebut the sources on which the Deputy Commandant relied

      and no opportunity to challenge the Deputy Commandant’s reasoning because the

      Deputy Commandant provided neither sources nor reasoning. Employing similar

      conclusory statements, the appellate denial letter delivered to USMC Captain pre-

      sents little or nothing for a district court to scrutinize. The Deputy Commandant’s

      letter offers only a simulacrum of reasoning, but never reasoning itself.

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            To permit adequate scrutiny of a particular denial, RFRA requires that the de-

      fendants offer more than “generalized statements of interest, unsupported by specific

      and reliable evidence.” Davila v. Gladden, 777 F.3d 1198, 1206 (11th Cir. 2015). In

      Davila, a federal prisoner asked to bring into the prison a set of beads necessary for a

      Santeria ritual. Under prison policy requiring that “religious items . . . be received

      only from ‘approved vendors’ listed in the prison catalog,” the prison denied the pris-

      oner’s request because the beads could not be purchased from the catalog.

            The prisoner sued and alleged that the refusal violated RFRA. Relying on “a

      prison warden’s terse affidavit” and “offer[ing] little more than a conclusory asser-

      tion” that “permitting inmates to obtain personal religious items from unauthorized

      sources . . . would drastically increase an inmate’s ability to smuggle contraband [or]

      weapons” and that the individual screening of a religious item from an unauthorized

      source would “have a major impact on prison resources,” the prison employees ar-

      gued that the refusal in accord with the prison policy satisfied RFRA. 777 F.3d at

      1203–06.

            Holding that the prison employees “failed, as a matter of law, to meet their

      burden of demonstrating that their policy furthers a compelling government interest,”

      Davila instructs that an official “cannot simply utter[] magic words . . . and as a result

      receive unlimited deference from those of us charged with resolving these disputes.”

      777 F.3d at 1206 (citing O Centro, 546 U.S. at 438). The conclusory assertions by the

      prison employees “left [the Eleventh Circuit] to wonder” the number of similarly

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      situated objectors, the prison’s process for screening objects, past incidents justifying

      the warden’s fears, and “the actual costs and time the prison would need to spend on

      screening” religious items purchased from unauthorized sources. 777 F.3d at 1206.

      Davila continues that the prison employees failed to show “that the[] wholesale ban

      on religious items outside the catalog is the least restrictive means for furthering” a

      compelling interest. 777 F.3d at 1207. Thus, despite the “due deference” afforded

      “to the experience and expertise” of prison employees to maintain good order, secu-

      rity, and discipline, Davila finds RFRA’s requirements unmet. 777 F.3d at 1206

      (concluding that the district court erred in granting summary judgment).

            Like the prison employees in Davila, the defendants fail to show by specific

      and reliable evidence that the Marine Corps’ denial of USMC Captain’s accommo-

      dation request satisfies RFRA’s burden. RFRA demands a “to the person” analysis

      such as this: Given the virtually complete vaccination of the Marine Corps and given

      the residual chance of injury to USMC Captain from the vaccination and the residual

      chance of transmission of COVID-19 by or to a vaccinated person despite the vac-

      cination, and given the description of USMC Captain’s assignment and the invest-

      ment in training and equipping him to perform that assignment, can the Marine

      Corps reasonably accommodate USMC Captain’s refusing the vaccine without any

      unreasonable injury to the readiness, safety, and health of the force? No discussion

      of that sort appears anywhere from the defendants in this instance or any other.



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            Instead, the Assistant Commandant conclusively and dismissively “consider[s]

      a variety of unique factors specific to the requestor,” including, among others,

      “where the requestor lives,” “where the requestor works,” whether the requestor can

      work remotely, and whether the requestor is attached to a deployable unit or re-

      quired to serve on a vessel. (Doc. 118-5 at 5–6, and Ex. A) USMC Captain’s denial

      supports this assertion: The Assistant Commandant concludes that an exemption

      “poses a significant risk to military readiness” because USMC Captain “works as a

      series commander” — a “critical role that cannot be performed remotely and that

      places [USMC Captain] in close proximity to drill instructors and recruits” — be-

      cause USMC Captain might “eat, sleep, train, and hygiene in a group setting,” and

      because USMC Captain “must be world-wide deployable even when . . . not cur-

      rently in a deploying command.” The Assistant Commandant’s statements include

      no reasoning, but rather generalizations tweaked to mimic reasoning.

            Because the Marine Corps predicates USMC Captain’s denial on broadly

      claimed governmental interests and generalized assessments of least restrictive

      means, the Marine Corps fails to satisfy RFRA’s burden “to the person.” For these

      reasons and others stated in the February 18 order, USMC Captain enjoys a substan-

      tial likelihood of successfully challenging under RFRA the Marine Corps’ denial of

      USMC Captain’s request for a religious accommodation from the requirement to re-

      ceive vaccination from COVID-19.



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      B.    Irreparable Harm

            To warrant preliminary relief, USMC Captain must establish a substantial

      threat of immediate and irreparable harm. The Marine Corps’ March 28, 2022 order

      forces USMC Captain to choose between accepting COVID-19 vaccination and sub-

      jecting himself “to punitive and/or administrative action.” “The loss of First

      Amendment freedoms, for even minimal periods of time, unquestionably constitutes

      irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). The protection against

      a loss of First Amendment freedoms applies with equal force against a violation of

      RFRA. Opulent Life Church v. City of Holly Springs, 697 F.3d 279, 295 (5th Cir. 2012).

      If the injury “constitute[s] ‘direct penalization, as opposed to incidental inhibition’ of

      First Amendment rights” the injury “[cannot] be remedied absent an injunction.”

      KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006) (citing

      Hohe v. Casey, 868 F.2d 69, 72–73 (3d. Cir. 1989)). Because USMC Captain faces im-

      mediate processing for separation or other punishment, the record shows irreparable

      harm will result absent injunctive relief.

      C.    Balance of the equities and public interest

            The balance of the equities and the public interest, the final two requirements

      for injunctive relief, merge if the military is the opposing party. Swain v. Junior, 958

      F.3d 1081, 1091 (11th Cir. 2020). RFRA recognizes that a service member enjoys a

      protected interest in avoiding substantial burdens on religious exercise, and “[t]he

      vindication of constitutional rights and the enforcement of a federal statute serve the

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      public interest almost by definition.” League of Women Voters of Fla. v. Browning, 863

      F. Supp. 2d 1155, 1167 (N.D. Fla. 2012). Further, in accord with Navy Seal 1 v. Sec’y

      of the U.S. Dep’t of Def., No. 22-10645 (11th Cir. Mar. 30, 2022), no part of this pre-

      liminary relief “precludes the [Marine Corps] from considering [USMC Captain’s]

      vaccination status in making deployment, assignment, and other operational deci-

      sions . . . .” USMC Captain requests only narrow, specific, and temporary relief and

      only that is granted in this order. Both the balance of the equities and public interest

      favor USMC Captain.

                                          CONCLUSION

            USMC Captain’s motions (Docs. 121, 147) for preliminary injunctive relief

      are GRANTED-IN-PART. The defendants are PRELIMINARILY ENJOINED

      (1) from enforcing against USMC Captain any order or regulation requiring

      COVID-19 vaccination, (2) from separating USMC Captain from the Marine Corps,

      and (3) from any retaliatory action against USMC Captain as a result of, or arising

      from, USMC Captain’s requesting a religious accommodation, appealing the denial

      of a request for religious accommodation, or pursuing this action or any other action

      for relief under RFRA or the First Amendment. Nothing in this injunction precludes




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      the defendants from considering USMC Captain’s vaccination status in making de-

      ployment, assignment, and other operational decisions.

            ORDERED in Tampa, Florida, on April 21, 2022.




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